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1                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
2                                  PENSACOLA DIVISION
3
                                     Civil Action No.:       3:21-cv-01066
4
5         STATE OF FLORIDA,
6                 Plaintiff,
7           v.
8         The UNITED STATES OF
          AMERICA, et al,
9
                  Defendants.
10
11        _______________________________________________________/
12
                                  REMOTE DEPOSITION OF:
13                              ROBERT KYNOCH, 30(b)(6)
14
15        DATE:                      Wednesday, July 27, 2022
16        TIME:                      10:26 a.m. - 12:21 p.m.
17        PLACE:                     Via Videoconference
18        TAKEN BEFORE:              Teresa Wynn, Court Reporter
                                     and Notary Public
19
20
21
22
23
24
25      Job No. CS5305328

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1         through the process.

2                 A     Yeah.   So, you know, we're going to ask for

3         -- so, you know, ask for identity documents from you.

4         That's typically going to be a certified copy of a birth

5         certificate.     You know, if you're a citizen, we're going

6         to ask for two proofs of address.           And then I think we

7         will go forward with, you know, asking you various

8         questions about your driving history, take your

9         photograph, give you the ability to register to vote.

10        We will collect our fees, our money for the driver's

11        license, and then we'll, you know, issue the card over

12        the counter.

13                Q     What does Florida charge for a driver's

14        license?

15                A     It's $48.

16                Q     So if a person is a noncitizen who comes in

17        to obtain a driver's license, what does that process

18        look like?

19                A     So, again, in addition to having to supply --

20        supply identity documents, they would come in, they

21        would provide proof of whatever documents they would

22        have for lawful status.        We would examine those

23        documents.     And then our system is directly connected to

24        the Homeland Security SAVE system.

25                      We would then attempt to verify their legal

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1         presence.     If that verifies in the SAVE system, then we

2         would issue them a credential over the counter, and then

3         the process of taking pictures and signing oaths and

4         things like that.      They wouldn't be offered the

5         opportunity to vote.       But it's a similar process.

6                 Q     Can a person who is here illegally obtain a

7         driver's license in the state of Florida?

8                 A     So anyone that obtains a driver's license or

9         an ID card that's a noncitizen has to have proof of

10        lawful status.      If they don't have proof of lawful

11        status, they will not be issued a state identification

12        card or driver's license.

13                Q     Are there any forms that a noncitizen fills

14        out when he or she comes into Motor Vehicles to obtain a

15        license on which they self-declare their immigration

16        status or citizenship status?

17                A     No, not that I'm aware of.

18                Q     So it's an oral process?        They would come in

19        and say, These are my documents.          Maybe it's a visa or

20        some other type of identification document.            Is that how

21        the clerk on the other side would know that they're

22        dealing with a noncitizen as opposed to a citizen?

23                A     Yes, it's going to be a conversation between

24        the clerk and the customer.

25                Q     What are the types of identification

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1         documents that a noncitizen can bring in to establish

2         their entitlement to a driver's license, assuming that

3         they have the privilege and they don't have DUIs and

4         everything else?

5                 A     I mean, there is a number of them.         I

6         definitely couldn't tell you all of them, but an

7         unexpired foreign passport could be one.           A Green Card

8         could be one.      An employment authorization card could be

9         another one.     Those are probably the three most common

10        ones that I'm familiar with.

11                Q     Does a noncitizen who is seeking a driver's

12        license or state ID card have to disclose whether or not

13        they are an applicant for asylum?

14                      MR. FARUQUI:     Object to the form.

15                      THE WITNESS:     So not necessarily.      I mean, we

16              would -- I mean, we would need some document that

17              we could verify through the SAVE system and get

18              back a response that they've got lawful status.             I

19              think it's commonly going to be a notice of

20              hearing.     But, again, we're looking at that

21              document that they give to us, and then we're

22              trying to verify that through SAVE.

23        BY MS. FUDIM:

24                Q     Would any document that has an alien number

25        or admission number satisfy the identification

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1         of which 313,607 were issuances of original IDs and

2         licenses and 431,595 were renewals."

3                       Do you see that?

4                 A     Yes.

5                 Q     Does that $745,000 -- excuse me, not dollar

6         -- 745,202 number for nonimmigrant IDs represent

7         separate individuals?

8                 A     No.    It would be separate credentials.

9         Someone could have got -- if I could clarify that.              They

10        could get a driver's license, come back a year later and

11        renew it.     So it would be one person but with two

12        credentials.

13                Q     That was what I was getting at.         Thank you.

14                      Do you know from that 745,202 number, how

15        many of those individuals entered the country at the

16        southwest border?

17                A     No.

18                Q     Do you know how many of them sought asylum?

19                A     No.

20                Q     Do you know how many of them were paroled

21        into the country?

22                A     I don't believe so.

23                Q     Do you know how many of them were released on

24        bond?

25                A     No.

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1                 Q     And do you know how many of them were

2         released by court order of a federal judge in response

3         to a habeas petition?

4                 A     No.

5                 Q     And does that mean that there were at least

6         372,000 and change dollars in costs associated with

7         running those SAVE searches for those individuals?

8                 A     Yes.

9                 Q     Okay.   But fair to say you can't tell me how

10        many of those dollars are attributable to individuals

11        who were released on parole by the federal government

12        while awaiting asylum from removal proceedings?

13                A     I think that's correct.

14                Q     In terms of funding, we talked a little bit

15        about that before, because you had mentioned grants.

16        The costs that are paid to the SAVE system, how are they

17        funded?

18                A     They are paid out of the Department's

19        operating trust fund.

20                Q     Is that funds that are secured through the

21        payment of taxes?

22                A     Largely through the payment of motor vehicle

23        titles and registrations.

24                Q     Is that, like, the $48 that we talked about

25        earlier that someone pays for a license?

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1                 A     Driver's license fees too, yes.

2                 Q     So if somebody who was a noncitizen, an

3         immigrant, was entitled to obtain a driver's license and

4         a SAVE search was conducted for them and they come back

5         as verified and they are entitled to get a license, they

6         too would pay the $48, correct?

7                 A     In most instances.       The only caveat could be

8         there are some exceptions in state law where if you're

9         homeless, if you're at 100 percent of the poverty level,

10        there is some ability to give no-cost IDs to that

11        population.

12                      But, generally speaking, yes, the -- most

13        people are going to pay the $48 or the -- for an ID

14        card, it's $25.

15                Q     Do you know what percentage of individuals

16        who go through the SAVE system are verified verses

17        ultimately not verified?

18                A     I don't.

19                Q     Is there a readily accessible way of

20        obtaining that information for a given period of time?

21                A     I'm not certain.

22                Q     I'm going to have the court reporter leave a

23        blank in the transcript, and if you're able to determine

24        from the period of January 2020 to the May 2022 period

25        the percentage of individuals who are not verified who

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1         SAVE contract for a year is for every verification --

2         I'm sorry.     The $392,000 is what we would have paid SAVE

3         in a fiscal year for every time we've used the system.

4         So that would also include immigrants.

5                 Q     Okay.   And that figure that you just gave,

6         the $392,000, what time period does that represent the

7         expenses for?

8                 A     So that would be fiscal year '21/'22.

9                 Q     Okay.   And with respect to that, it would

10        include individuals who were both issued and not issued

11        driver's licenses?

12                A     I believe so.

13                Q     And it would include individuals who were not

14        applicants for admission who were paroled at the

15        southwest border?

16                A     I believe it would.       I would love to see the

17        data just to be sure.        The 392, that's just a total bill

18        we got, obviously, from Homeland Security for using its

19        system for that year.

20                Q     Sir, are you able to quantify for me the harm

21        to the Department of Highway Safety from the federal

22        government's parole policies at the southwest border?

23                A     Can you please ask me that question one more

24        time?

25                Q     Sure.   I want to know whether you can

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1         quantify for me the harm to the Department of Highway

2         Safety and Motor Vehicles from the federal government's

3         parole policies at the southwest border.

4                 A     I don't believe I can.

5                       MS. FUDIM:     Okay.   I have no further

6               questions, but your attorney may, so I turn over

7               the floor.

8                       MR. FARUQUI:     No, I don't have any questions

9               for the witness.

10                      Teri, the witness will read, and we will

11              order a copy of the transcript if it's ordered.

12                      MS. FUDIM:     Thank you, Teri.      I appreciate

13              your time.

14                      THE REPORTER:     And do you need to order at

15              this time?

16                      MS. FUDIM:     Yeah.   I think our -- I think our

17              paralegal takes care of that.          I'm not exactly sure

18              how that works.      I haven't been part of that

19              process.     So if the process is I tell you right now

20              that we're ordering, then, yes, we're ordering.

21                      (Witness excused.)

22                      (Deposition concluded at 12:21 p.m.)

23                                        - - -

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